  Case 2:16-md-02740-JTM-MBN Document 16607-10 Filed 12/01/23 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                             MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                        SECTION “H” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

                                 NOTICE OF SUBMISSION


       PLEASE TAKE NOTICE that Defendants, Sanofi US Services Inc. and Sanofi-Aventis

U.S. LLC, will bring for hearing the accompanying Motion for Entry of an Order Requiring Proof

of Diagnosis on the 20th day of December, 2023, at 9:30 a.m. before the Honorable Jane Triche

Milazzo of the United States District Court for the Eastern District of Louisiana, 500 Poydras

Street, New Orleans, LA 70130.




                                                  Respectfully submitted,

                                                  /s/ Douglas J. Moore
                                                  Douglas J. Moore (Bar No. 27706)
                                                  IRWIN FRITCHIE URQUHART
                                                  MOORE & DANIELS LLC
                                                  400 Poydras Street, Suite 2700
                                                  New Orleans, LA 70130
                                                  Telephone: 504-310-2100
                                                  dmoore@irwinllc.com
  Case 2:16-md-02740-JTM-MBN Document 16607-10 Filed 12/01/23 Page 2 of 2




                                                   Harley Ratliff
                                                   Jon Strongman
                                                   Adrienne L. Byard
                                                   SHOOK, HARDY& BACON L.L.P.
                                                   2555 Grand Boulevard
                                                   Kansas City, Missouri 64108
                                                   Telephone: 816-474-6550
                                                   hratliff@shb.com
                                                   jstrongman@shb.com
                                                   abyard@shb.com
                                                   Counsel for sanofi-aventis U.S. LLC and
                                                   Sanofi U.S. Services Inc.




                               CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2023, I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all counsel of
record.



                                                           /s/ Douglas J. Moore
